                                        UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF NORTH CAROLINA
                                            CHARLOTTE DIVISION
                                       DOCKET NO. 3:16-cr-00013-MOC-DCK

               UNITED STATES OF AMERICA,                     )
                                                             )
                                                             )
                                                             )
               v.                                            )                      ORDER
                                                             )
               ANDREA HINES,                                 )
                                                             )
                               Defendant.                    )



                      THIS MATTER is before the court on the court’s own Motion to Correct the Judgment

              in the Criminal Case. The court enters the following Order to correct a typographical error on

              the Judgment (#439) in this above-captioned case.

                                                        ORDER

                      IT IS, THEREFORE, ORDERED that the register (“USM”) number reading 32057-

              058 on the Judgment (#439) SHALL BE AMENDED to note the correct USM number 32507-

              058.

                      The Clerk of Court is directed to enter an amended Judgment reflecting this change.

Signed: November 10, 2016




                    Case 3:16-cr-00013-MOC-DCK          Document 459       Filed 11/10/16     Page 1 of 1
